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 UNITED STATES DISTRICT COURT
 DISTRICT OF NEW JERSEY
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                                                           :
 UNITED STATES OF AMERICA,
                                                           :
                   -against-                                 Crim. No. 2:19-cr-877-CCC
                                                           :
 MATTHEW BRENT GOETTSCHE,
 RUSS MEDLIN,                                              :
 JOBADIAH SINCLAIR WEEKS,
 JOSEPH FRANK ABEL, and                                    :
 SILVIU CATALIN BALACI
                                                           :
                            Defendants.
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          [Proposed] Order Granting Motion to Modify Conditions of Pretrial Release

         THIS MATTER having come before the Court on the motion of Defendant Matthew Brent

 Goettsche, through the undersigned counsel, to modify conditions of pretrial release (Dkt. __), the

 Court having considered the consent of both Pretrial Services and the government, through

 Assistant U.S. Attorney Anthony Torntore, and having read and considered this motion, hereby

 adopts the following: Mr. Goettsche may travel to the Southern District of New York for in-person

 meetings with his attorneys of record in December 2024 and shall provide a detailed travel itinerary

 of flights and lodging to Pretrial Services for review and approval at least two weeks in advance

 of travel.

         It is further ordered that the above conditions of release are in addition to, and not in

 place of, the conditions previously set forth by this Court.

 SO ORDERED.

                                                                Dated:

                                                                ____________________________
                                                                Hon. Michael A. Hammer
                                                                United States Magistrate Judge
